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 7 Attorneys for Plaintiff,
     Timothy Chandler
 8
 9                        UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11 TIMOTHY CHANDLER, an individual,               Case No.: 3:22-cv-00636-W-DEB
12                            Plaintiff,
                                                  PLAINTIFF’S COUNSELS’
13        vs.                                     MOTION TO WITHDRAW
14 MIDLAND CREDIT MANAGEMENT,
     INC., a Kansas corporation,                  HON. THOMAS J. WHELAN
15
                        Defendant.                DATE:  JANUARY 23, 2023
16                                                COURTROOM: 3C
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                                                  NO ORAL ARGUMENT PURSUANT
18                                                TO LOCAL RULE
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                              PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
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 1        COMES NOW, David McGlothlin, Esq., Mona Amini, Esq., Gustavo Ponce,
 2 Esq., and the law firm of Kazerouni Law Group, APC, counsels for Plaintiff, Timothy
 3 Chandler, in the matter of Timothy Chandler v. Midland Credit Management, Inc.,
 4 3:22-cv-00636-W-DEB, and respectfully requests this Court’s permission to
 5 withdraw as attorneys of record for Plaintiff. In support thereof, counsels state that
 6 (a) the attorney-client relationship cannot be maintained as Plaintiff has been
 7 unresponsive and communication with Plaintiff has been completely lost.
 8        As set forth in the Declaration of Gustavo Ponce, Plaintiff’s counsels have
 9 taken reasonable steps to avoid reasonably foreseeable prejudice to the rights of
10 Plaintiff, including giving due notice to Plaintiff of Plaintiff’s counsels’ intent on
11 withdrawing from representation, allowing time for employment of other counsel,

12 complying with rule 3-700(D) of the California Rules of Professional Conduct, and
13 has compiled with other applicable laws and rules with regard to withdrawal of
14 representation.
15        THEREFORE, counsel for Plaintiff respectfully requests this Court permit all
16 current counsel of record for Plaintiff to withdraw.
17
18 Dated: December 12, 2022                   Respectfully submitted,
19                                            KAZEROUNI LAW GROUP, APC
20
21                                               By: /s/ Gustavo Ponce
                                                 David J. McGlothlin, Esq.
22                                               Mona Amini, Esq.
                                                 Gustavo Ponce, Esq.
23                                               Attorneys for Plaintiff
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                           PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
 Case 3:22-cv-00636-W-DEB Document 12 Filed 12/12/22 PageID.55 Page 3 of 3




 1                               PROOF OF SERVICE
 2       I hereby certify that on December 12, 2022, I electronically transmitted the
 3 document(s) listed below to CM/ECF system on this date.
 4
 5             PLAINTIFF’S COUNSELS’ MOTION TO WITHDRAW
 6
 7
 8                                          KAZEROUNI LAW GROUP, APC
 9
10                                              By: /s/ Gustavo Ponce
                                                David J. McGlothlin, Esq.
11                                              Mona Amini, Esq.
                                                Gustavo Ponce, Esq.
12                                              Attorneys for Plaintiff
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                          PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
